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                             United States District Court
                                    EASTERN DISTRICT OF TEXAS
                                       SHERMAN DIVISION

     UNITED STATES OF AMERICA                      §
                                                   §
     v.                                            §    CASE NO. 4:15CR001- ALM -CAN
                                                   §
     SERGIO TORRES-MIRANDA(2)                      §
                                                   §


             ORDER ADOPTING MAGISTRATE JUDGE’S REPORT AND FINDING
                    DEFENDANT GUILTY ON COUNT ONE OF THE
                       SECOND SUPERSEDING INDICTMENT

           On this date, the Court considered the Findings of Fact and Recommendation of United

      States Magistrate Judge Christine A. Nowak regarding Defendant’s plea of guilty to Count One

      of the Second Superseding Indictment in the above-numbered cause. Having conducted a

      proceeding in the form and manner prescribed by Fed. R. Crim. P. 11, the Magistrate Judge

      recommends that the Court accept the guilty plea of the Defendant. The Court is of the

      opinion that the Findings of Fact and Recommendation should be accepted.

             It is accordingly ORDERED that the Findings of Fact and Recommendation of the

      United States Magistrate Judge are hereby ADOPTED.

.            It is further ORDERED that Defendant’s guilty plea and the plea agreement are

      ACCEPTED by the Court.

             It is finally ORDERED that the Court finds Defendant guilty on Count One of the

      Second Superseding Indictment.
            SIGNED this 28th day of October, 2015.




                                         ___________________________________
                                         AMOS L. MAZZANT
                                         UNITED STATES DISTRICT JUDGE
